CaS€ 8-17-77510-&8'[ DOC 16-1 Filed 12/19/17 Entered 12/19/17 16238237

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRlCT OF NEW YORK

In Re: Case No. 8-]7-77510~AST

BRIAN OFSIE, Chapter 7

Debtor.
_________________________________________________________ X

AFFIRMATION PURSUANT TO LOCAL RULE 1009-l(a)
Roy J. Lester, attorney for the above referenced debtor herein, affirms as follows:

l. Debtor filed a petition under Chapter 13 of the Bankruptcy Code on Decernber 5,
2017.

2. Filed herewith is an amendment to the Mailing Matrix, previously filed herein.

3. Annexed hereto is a listing setting forth the specific additions to the Mailing Matrix.
The nature of` the additions are indicated for each creditor listed below:

NORTHPOINTE BANK LOAN-BUSINESS $0.00
CfO KELLI L. BAKER, ESQ. NOTICE ONLY

333 BRIDGE STREET NW STE 530

GRAND RAPIDS, MI 49504

GREAT AMERICAN INS. CO. BONDS-BUSINESS $0.00
C/O CHIESA SHAHINIAN NOTICE ONLY
& GIANTOMASI
ONE BOLAND DRIVE
WEST ()RAGE, NJ 07052

SANTANDER BANK, NA NOTE ON LOAN $0.00
C/O ALST()N & BIRD

472] EMPEROR BOULEVARD, STE 400

DURHAM, NC 27703-8580

MELISSA LEE/JEDLICKA LAWSUIT $1,000,000.00
C/O GONER & ASSOCIATES, PC

135 MAXESS ROAD

MELVILLE, NY 1174'7

MARKOTSIS & LIEBERMAN, PC SERVICES $450.00
llSB BROADWAY, SUITE 2
HICKSVILLE, NY 11801

BMW FINANCIAL CREDIT CARD 56139.49
C/O FIRSTSOURCE

205 BRYANT WOODS SOUTH

AMHERST, NY 14228

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BMW FINANCIAL

C/() AIS PORTFOLIO SERVICES
PO BOX 165028

IRVING, TX 75016

CITY MD URGENT CARE
PO BOX 791516
BALTIMORE, MD 21279

GLASSFISH ER PHYSICIAN
PO BOX 38051
PHILADELPHIA, PA 19101

NORTHWELL HEALTH LABS
175 COMMUNITY DRIVE, IST FLR
GREAT NECK, NY 11021

COMMUNITY RESCUE SQUAD, INC
283 MOUNTAIN VIEW ROAD
COPAKE, NY 12516

PROHEALTH CARE ASSOC.
PO BOX 3475
TOLED(), OH 43607

N. SHORE LIJ MED GROUP
C/O PCB

PO BOX 9060

HICKSVILLE, NY 11802

BEATRICE BOHM
94 ASHLAND DRIVE
KINGS PARK, NY 11754

CHASE BUSINESS

C/O ALTRAN FINANCIAL LP
PO BOX 722929

HOUSTON, TX 77272

CHRYSLER FINANCIAL
PO BOX 1728
NEWARK, NJ 07101-0000

GLEN LEMESHEV
176 W. 94'H sT, APT 7H
NEW YoRK, NY 10025

MICHAEL GUTHNECK
8073 VINCENZO DRIVE
TOMS RIVER, NJ 08753

CREDIT CARD
NOTICE ONLY

MEDICAL BILL

MEDICAL BILL

MEDICAL BILL

MEDICAL BILL

MEDICAL BILLS

MEDICAL BILL

EX~EMPLOYEE

CREDIT CARD-
BUSINESS

CAR LEASE

EX-EMPLOYEE

EX-EMPLOYEE

$0.00

$45.00

$675.00

$60.00

$150.00

$160.00

$262.114

UNKNOWN

$24,227.16

$0.00

UNKNOWN

UNKNOWN

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NICHOLE GUTHNECK EX-EMPLOYEE UNKNOWN
8073 TUMBLESTONE DRIVE, UNIT 415
DELRAY BEACH, FL 33446

4. Annexed hereto is a listing setting forth the specific corrections to the Mailing

Matrix. The nature of the corrections are indicated for each creditor listed below:

EDWARD BOHM EX-EMPLOYEE UNKNOWN
19 BLACKBERRY LANE
CENTER MORICHES, NY 11934
EDWARD BOHM EX-EMPLOYEE $0.00
471 GRENADON LANE NOTICE ONLY
NORTH BABYLON, NY 11703
5. Annexed hereto is a listing setting forth the specific deletion to the Mailing Matrix.
The nature of the deletion is indicated for the creditor listed below:
IRS - SPECIAL PROCEDURES TAXES $0.00
10 METRO TECH CENTER
625 FULTON AVENUE
BROOKLYN, NY 11201
CHRYSLER
6. An amended mailing matrix is annexed hereto, reflecting such changes as have been

referred to above.

Dated: December 19, 2017 s/ Roy J. Lester
Garden City, NeW York

 

LESTER & ASSOCIATES, P.C.
Roy J. Lester, Esq.

Attorney for Debtor

600 Old Country Road, Suite 229
Garden City, NY ll530

(516) 357-9191

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

___________________________________________________________ X
In Re:

Case No. 8-17-77510
BRlAN OFSIE,

Chapter 7

Debtor.
___________________________________________________________ X
AFFIDAVIT OF SERVICE
STATE OF NEW YORK)
) SS.:

COUNTY OF NASSAU )
I, KRISTA COLALILLO, being duly sworn, depose and say:

l. That l am not a party to the action, and l arn over eighteen years of age and reside in
Oceanside, New Yorl<.

2. That on the 19TH day of December, 2017, I served a copy of an AFFIRMATION
PURSUANT TO LOCAL RULE 1009-1(A) by depositing a true copy thereof in an official
depository of the United States Postal Service contained in a securely closed post-paid envelope
directed to the following person by First Class Mail at the address designated below which is the
last known address of the addressee and enclosed in- an envelope containing name and return
address of the party effecting service to:

See attached list

s/ Krista Colalillo

 

KRISTA COLALILLO
Sworn to before me this

19TH day of December, 2017

s/ Roy J. Lester

 

   
 

Notary Public
P.C‘-Y .l. |_F_F_~TEF%
Notary Pt_ z C"'§ Naw York
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Commtss;oti E',\p:ras Ssptem»;-er 30, 20 Li

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R Kenneth Bamard
3305 Jerusalem Avenue, Suite 215
Wantagh, NY 11793

US Tiustee’s Office
560 Federal Plaza, Room 563
Central lslip, NY 11722

NORTHPOINTE BANK

C/O KELLI L. BAKER, ESQ.

333 BRIDGE STREET NW STE 530
GRAND RAPIDS, MI 49504

GREAT AMERlCAN INS. CO.
C/O CHIESA SHAHINIAN
& GIANTOMASI
ONE BOLAND DRIVE
WEST ORAGE, NJ 07052

SANTANDER BANK, NA

C/O ALSTON & BIRD

4721 EMPEROR BOULEVARD, STE 400
DURHAM, NC 27703-8580

MELISSA LEE/JEDLICKA

C/O GONER & ASSOCIATES, PC
135 MAXESS ROAD
MELVILLE, NY 11747

MARKOTSIS & LIEBERMAN, PC
115B BROADWAY, SUITE 2
HICKSVILLE, NY 11801

BMW FINANCIAL

C/O FIRSTSOURCE

205 BRYANT WOODS SOUTH
AMHERST, NY 14228

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C/O AlS PORTFOLlO SERVICES
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PO BOX 791516
BALTIMORE, MD 21279

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PO BOX 38051
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175 COMMUNITY DRIVE, lST FLR
GREAT NECK, NY l 1021

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COMMUNITY RESCUE SQUAD, lNC
283 MOUNTAW VIEW ROAD
COPAK_E, NY 12516

PROHEALTl-l CARE ASSOC.
PO BOX 3475
TOLEDO, OH 43607

N. SHORE LIJ MED GROUP
C/O PCB

PO BOX 9060
HICKSVILLE, NY 11802

BEATRICE BOHM
94 ASHLAND DRIVE
KINGS PARK, NY 1 1754

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CENTER MORICHES, NY 11934

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